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8        Natural Care, Inc.
                                                  Attorneys for Defendant Thrive
9                                                 Causemetics, Inc.
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12
13                                 UNITED STATES DISTRICT COURT

14                                CENTRAL DISTRICT OF CALIFORNIA

15
16   THRIVE NATURAL CARE, INC.,                     Case No. 2:20-cv-9091-PA-AS

17                   Plaintiff,                     Hon. Percy Anderson

18            v.                                    JOINT STATEMENT ON
                                                    MEET AND CONFER
19   THRIVE CAUSEMETICS, INC.,
                                                    Trial Date: November 9, 2021
20                   Defendant.                     Time:       9:00 a.m.
                                                    Place:      Courtroom 9A
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                                  JOINT STATEMENT ON MEET AND CONFER
Case 2:20-cv-09091-PA-AS Document 118 Filed 10/13/21 Page 2 of 5 Page ID #:6310



1          Pursuant to this Court’s Order dated October 7, 2021 (Dkt. 115), Plaintiff Thrive
2    Natural Care Inc. (“Plaintiff”) and Defendant Thrive Causemetics, Inc. (“Defendant”)
3    (collectively, the “Parties”) hereby submit this joint statement concerning their meet
4    and confer efforts and identifying the Motions in Limine that they intend to file.
5                                     Meet and Confer Efforts
6          Lead trial counsel Stephen McArthur and Rollin Ransom met and conferred in
7    person at 9:00 a.m. on Monday, October 12, 2021. Counsel were able to work through
8    several issues, including each Party agreeing to withdraw two of their four motions in
9    limine. The Parties also agreed to withdraw numerous exhibits and their evidentiary
10   objections to many more, significantly reducing the number of disputed trial exhibits.
11         Given the unopposed ex parte application to strike the jury trial, the Parties
12   believe that the disputes regarding the jury instructions and verdict form are likely
13   moot. The Parties also believe that this will significantly reduce the total amount of
14   time needed for trial because witness direct testimony will be done by declaration.
15         Each party intends to file two motions in limine. Plaintiff is filing a motion in
16   limine to strike defendant’s evidence of third party use of the term “thrive” where
17   Defendant failed to identify evidence that such use was for skincare or related
18   products. Plaintiff’s second motion in limine seeks to exclude Defendant’s category of
19   “Other Overhead” costs on the basis that it includes non-deductible costs that are
20   irrelevant to the damages calculations of this case.
21         Defendant’s first motion in limine seeks to exclude evidence of alleged harm to
22   the THRIVE mark or other actual damage, on the ground that any such damages
23   calculation was undisclosed and Plaintiff’s damages expert testified it would be
24   speculative. Defendant’s second motion in limine seeks to exclude alleged evidence
25   of actual confusion that relates solely to Defendant’s makeup products (which are not
26   accused of infringement, rendering the evidence irrelevant and prejudicial) and/or
27   reflects inadmissible hearsay.
28   ///
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                           JOINT STATEMENT ON MEET AND CONFER
Case 2:20-cv-09091-PA-AS Document 118 Filed 10/13/21 Page 3 of 5 Page ID #:6311



1
     DATED: October 13, 2021
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                                       Respectfully submitted,
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4                                      THE MCARTHUR LAW FIRM, PC
5
6                                      By /s/ Stephen McArthur
                                         Stephen C. McArthur
7                                        Thomas E. Dietrich
8                                         Attorneys for Plaintiff Thrive Natural
                                          Care, Inc.
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11
     DATED: October 13, 2021           SIDLEY AUSTIN, LLP
12
13                                     By: /s/ Rollin A. Ransom (with permission)
14                                         Rollin A. Ransom

15                                             Attorneys for Defendant
16                                             Thrive Causemetics, Inc.

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                        JOINT STATEMENT ON MEET AND CONFER
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1                     ATTESTATION UNDER LOCAL RULE 5-4.3.4
2          I, Thomas Dietrich, am the ECF User whose ID and password are being used to
3    file this Stipulation. In compliance with Local Rule 5-4.3.4(a)(2), I hereby attest that
4    Rollin Ransom has concurred in this filing.
5
6    Dated: October 13, 2021                    /s/ Thomas Dietrich
                                                Thomas Dietrich
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                           JOINT STATEMENT ON MEET AND CONFER
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1                                CERTIFICATE OF SERVICE
2    Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
     Case No.: 2:20-cv-9091-PA-AS
3
     IT IS HEREBY CERTIFIED THAT:
4
           I, the undersigned, declare under penalty of perjury that I am a citizen of the
5    United States over 18 years of age. My business address is 9465 Wilshire Blvd., Ste.
     300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
6
             I have caused service of the following documents, described as:
7
                      JOINT STATEMENT ON MEET AND CONFER
8
     on the following parties by electronically filing the foregoing on October 13, 2021,
9    with the Clerk of the District Court using its ECF System, which electronically
     notifies them.
10
     Rollin Ransom (SBN 196126)                     Attorneys for Defendant
11   rransom@sidley.com
     Ryan Stasell (SBN 307431)
12   rstasell@sidley.com
     Paula Salazar (SBN 327349)
13   psalazar@sidley.com
     SIDLEY AUSTIN LLP
14   555 West Fifth St., Ste. 4000
     Los Angeles, CA 90013
15
     I declare under penalty of perjury under the laws of the United States of America that
16   the foregoing is true and correct.
17
18   Date:     10/13/2021               By: /s/ Thomas Dietrich
19                                          Thomas Dietrich

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                            JOINT STATEMENT ON MEET AND CONFER
